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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

 DANIEL SENTENO,                                   )
                                                   )
                       Plaintiff,                  )
                                                   ) Case No. 1:20-cv-01179-MN
        v.                                         )
                                                   )
 ON DECK CAPITAL, INC., NOAH                       )
 BRESLOW, JANE J. THOMPSON, RONALD                 )
 F. VERNI, CHANDRA DHANDAPANI,                     )
 BRUCE P. NOLOP, MANOLO SANCHEZ,                   )
 DANIEL HENSON, NEIL E. WOLFSON,                   )
 ENERGY MERGER SUB, INC., and ENOVA                )
 INTERNATIONAL, INC.,                              )
                                                   )
                       Defendants.                 )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.

 Dated: January 24, 2021                            RIGRODSKY LAW, P.A.

                                               By: /s/ Gina M. Serra
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